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 4
     Attorney for Defendant
 5   DAVID FRANK GUERRERO
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )           No. 07-249-LKK
                                     )
12                  Plaintiff,       )
                                     )           SUBSTITUTION OF COUNSEL AND
13        v.                         )           ORDER
                                     )
14   DAVID FRANK GUERRERO,           )
                                     )           Date: December 22, 2009
15                  Defendant.       )           Time: 9:15 a.m.
     _______________________________ )           Hon. Lawrence K. Karlton
16
17         Defendant David Frank Guerrero, through his attorney CJA panel John Balazs,
18   hereby submits this substitution of counsel as counsel recently discovered a potential
19   conflict. The CJA Panel Administrator has assigned attorney Shari Rusk as new CJA
20   counsel. Ms. Rusk and AUSA Jason Hitt intend to proceed with the currently scheduled
21   sentencing date of December 22, 2009.
22                                          Respectfully submitted,
23   Dated: December 15 2009
24                                          /s/ John Balazs
                                            JOHN BALAZS
25
                                            Attorney for Defendant
26                                          DAVID FRANK GUERRERO
27   Dated: December 15, 2009
                                            /s/ Shari Rusk
28                                          SHARI RUSK
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 1   I consent to the substitution.
 2   Dated: December 15, 2009
 3                                    /s/ David Frank Guerrero
                                      David Frank Guerrero
 4                                    Defendant
                                      [Original Signature on File]
 5
 6
 7
                                         ORDER
 8
 9   IT IS SO ORDERED.
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     Dated: December 21, 2009
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